     Case 9:22-cv-00297-DNH-CFH Document 82 Filed 09/11/23 Page 1 of 3




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

MAKYYLA HOLLAND,
                                         Plaintiff,

                           - against -

BROOME COUNTY; DA YID E. HARDER, in
his individual and official capacity as Broome
County Sheriff; MARK SMOLINSKY, in his                              No. 9:22-CV-00297-DNH-CFH
individual and official capacity as Broome County
Jail Chief Administrator; and ISHTIAQ                               STIPULATION AND ORDER
HOSSAIN, MAHMOOD AHMED, PARRIS                                      OF DISMISSAL AND
GEORGE, ADAM VALLS, DA YID ALLEN,                                   SETTLEMENT
FRANKLIN BIRT, MICHAEL MCCAFFERTY,
MATTHEW SIMEK, DANIEL WEIR, JOSEPH
DA VIS, NICHOLAS BIXBY, DOUGLAS
DAILEY, ADAM WILCOX, BRIAN DOYLE,
COLIN RILEY and CORRECTIONS OFFICERS
DOE 1-5, all in their individual capacities,
                                     Defendants.



           STIPULATION AND ORDER OF DISMISSAL AND SETTLEMENT
       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned,

counsel for the Plaintiff and counsel for the Defendants, that whereas no party hereto is an infant

or incompetent person for whom a committee has been appointed and no person not a party has

an interest in the subject matter of the action, the above entitled action be dismissed against all

defendants, pursuant to the Agreement attached to this stipulation as Exhibit "l," with prejudice

and without costs to any party as against the other.
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Dated:   New York, New York
         August 22, 2023

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                                         EDUCATION FUND, INC.

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                                    Counsel for Plaintiff Makyyla Holland




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Dated:   Binghamton, New York
         August ~ , 2023

                                   ROBERT G. BEHNKE
                                   Broome County Attorney
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                                   E. Harder, Mark Smolinsky, Parris George,
                                   Adam Valls, David Allen, Franklin Birt,
                                   Michael McCafferty, Matthew Simek, Daniel
                                   Weir, Joseph Davis, Nicholas Bixby,
                                   DouglasDailey, Adam Wilcox, Brian Doyle, and
                                   Colin Riley



Dated:   Poughkeepsie, New York
         August ~>, 2023




                                   By:~__,-,--------.=---,-~~

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                                   (845) 471-4455

                                   Counsel for Defendants Ishtiaq Hossain and
                                   Mahmood Ahmed


IT IS SO ORDERED:



Hon. David N . Hurd
United States District Judge
Dated: - - - -
   09-11-2023
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